      Case 3:07-cr-00024-RLY-WGH
      Case 3:07-cr-00024-RLY-CMM Document
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AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                         UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                         Lamont Robinson                                   )
                                                                           )    Case No: 3:07CR00024-006
                                                                           )    USM No: 19708-424
Date of Original Judgment:                            03/16/2009           )
Date of Previous Amended Judgment:                                         )    Sara J. Varner
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   144                     months is reduced to 120 months*                          .
                                               (Complete Parts I and II of Page 2 when motion is granted)




          A CERTIFIED TRUE COPY
          Laura A. Briggs, Clerk
          U.S. District Court
          Southern District of Indiana

          By
                                Deputy Clerk



Except as otherwise provided, all provisions of the judgment dated                          03/16/2009              shall remain in effect.
IT IS SO ORDERED.

Order Date:               9/08/2015
                                                                                                         Judge’s signature


Effective Date:               11/01/2015                                Honorable Richard L. Young, Chief U.S. District Court Judge
                     (if different from order date)                                                    Printed name and title
